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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        I.A., et al.,
                                   7                                                         Case No. 15-cv-04973-DMR
                                                        Plaintiffs,
                                   8
                                                  v.                                         ORDER OF DISMISSAL
                                   9
                                        CITY OF EMERYVILLE, et al.,
                                  10
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13           The court having been notified that the case has been settled,

                                  14           IT IS HEREBY ORDERED that this case is dismissed in its entirety with prejudice;

                                  15   provided, however, that if any party hereto shall certify to this court, within 60 days, with proof of

                                  16   service of a copy thereon to opposing counsel, that the agreed consideration for said settlement has

                                  17   not been delivered over, the foregoing Order shall stand vacated and this case shall forthwith be

                                  18   restored to the calendar to be set for trial. All further dates are vacated.

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                                  20           IT IS SO ORDERED.

                                  21   Dated: April 17, 2017

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                                                                                         DONNA M. RYU
                                  23                                                     United States Magistrate Judge
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